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 1                                                             THE HONORABLE BENJAMIN H. SETTLE

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 6
                                 UNITED STATES DISTRICT COURT
 7                              WESTERN DISTRICT OF WASHINGTON
                                          AT SEATTLE
 8
      COMMANDER EMILY SHILLING; et al.,                             No. 2:25-cv-00241 BHS
 9
                            Plaintiffs,                             SUPPLEMENTAL DECLARATION
10                                                                  OF MATTHEW P. GORDON IN
                   v.                                               SUPPORT OF PLAINTIFFS’
11                                                                  SUPPLEMENTAL BRIEF IN
                                                                    SUPPORT OF MOTION FOR
12    DONALD J. TRUMP, in his official capacity as                  PRELIMINARY INJUNCTION
      President of the United States; et al.,
13
                            Defendants.
14

15          I, Matthew P. Gordon, hereby declare as follows:
16          1.     I am an attorney with the law firm Perkins Coie LLP and counsel for Plaintiffs in
17   the above-captioned matter. I make this declaration based on personal knowledge about which I
18   am competent to testify.
19          2.     I submit this declaration to provide the Court true and correct copies of certain
20   supplemental documents submitted in support of Plaintiffs’ Motion for Preliminary Injunction.
21          3.     Attached as Exhibit 25 is a true and correct copy the Office of the Under
22   Secretary of Defense Memorandum for Senior Pentagon Leadership Commanders of the
23   Combatant Commands Defense Agency and DOD Field Activity Directors, with the subject
24   “Additional Guidance on Prioritizing Military Excellence and Readiness,” dated February 26,
25   2025, and retrieved from the Defense.gov at:
26
     SUPPL. DECLARATION OF                       Perkins Coie LLP             Lambda Legal Defense and         Human Rights Campaign
                                          1201 Third Avenue, Suite 4900          Education Fund, Inc.                Foundation
     MATTHEW P. GORDON ISO SUPPL.         Seattle, Washington 98101-3099       120 Wall Street, 19th Floor   1640 Rhode Island Avenue NW
     MOT. FOR PRELIM. INJ. – 1                  Phone: 206.359.8000           New York, NY. 10005-3919          Washington, D.C. 20036
     CASE NO. 2:25-CV-241                        Fax: 206.359.9000              Telephone: 212-809-8585        Telephone: (202) 568-5762
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 1   https://www.defense.gov/Portals/1/Spotlight/2025/Guidance_For_Federal_Policies/Prioritizing_

 2   Military_Excellence_and_Readiness_P&R_Guidance.pdf.

 3          4.     Attached as Exhibit 26 is a true and correct screenshot of a social media post by

 4   DOD Rapid Response retrieved from X.com at:

 5   https://x.com/DODResponse/status/1895158972060971169.

 6          EXECUTED this 4th day of March, 2025, at Seattle, Washington.
 7
                                                              s/ Matthew P. Gordon
 8                                                            Matthew P. Gordon

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